 Case 2:20-cr-20433-PDB-APP ECF No. 4, PageID.20 Filed 08/19/20 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN

United States of America,

         Plaintiff,
                                                    Criminal No. 20-mj-30299
v.

Samuel George Baker,

         Defendant
                                 /

                      MOTION AND ORDER TO UNSEAL THE
                      COMPLAINT AND ARREST WARRANT

     The United States of America requests the court to unseal the Complaint,

Arrest Warrant, and all attendant papers for the following reasons:

     1. That the defendant has been arrested on the complaint by law enforcement

        officers.

     2. That the United States is no longer apprehensive that the defendant may flee

        prior to appearance on the complaint.

                                        Respectfully submitted,

                                        Matthew Schneider
                                        United States Attorney

                                        s/Ryan A. Particka
                                        Ryan A. Particka
                                        Assistant United States Attorney
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                                        Detroit, MI 48226
                                        ryan.particka@usdoj.gov
                                        (313) 226-9635
Dated: August 19, 2020
 Case 2:20-cr-20433-PDB-APP ECF No. 4, PageID.21 Filed 08/19/20 Page 2 of 2




IT IS SO ORDERED.

                                   s/Elizabeth A. Stafford
                                   Elizabeth A. Stafford
                                   United States Magistrate Judge

Entered: August 19, 2020
